948 F.2d 1282
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jesse RICHARDSON, Petitioner,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS, UNITEDSTATES DEPARTMENT OF LABOR;  Ashland Oil, Inc.;Insurance Company of North America, Respondents.
    No. 91-2530.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 28, 1991.Decided Nov. 19, 1991.
    
      On Petition for Review of an Order of the Benefits Review Board.  (89-3272)
      Michael R. Dowling, George C. Howell, Ashland, Ky., for petitioner.
      William Michael Conwell, Dickie, McCamey &amp; Chilcote, P.C., Pittsburgh, Pa., Carol Beth Feinberg, Office of the Solicitor, United States Department of Labor, Washington, D.C., for respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before ERVIN, Chief Judge, SPROUSE, Circuit Judge, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Jesse Richardson seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of benefits under the Longshore and Harbor Worker's Compensation Act, 33 U.S.C. §§ 901-950 (West 1986 &amp; Supp.1991).   Our review of the record and the Board's decision and order discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the Board.   Richardson v. Ashland Oil Co., No. 89-3272 (Ben.Rev.Bd. Mar. 21, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    